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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DONALD DEMPSTER, SR., derivatively on               Civil Action No. _________
behalf of HONEYWELL INTERNATIONAL
INC.,

                                 Plaintiff,         DEMAND FOR JURY TRIAL

       v.

DARIUS E. ADAMCZYK, DUNCAN B.
ANGOVE, WILLIAM S. AYER, KEVIN
BURKE, D. SCOTT DAVIS, LINNET F.
DEILY, JUDD A. GREGG, CLIVE R.
HOLLICK, GRACE D. LIEBLEIN, JAIME
CHICO PARDO, GEORGE PAZ, ROBIN L.
WASHINGTON, DAVID M. COTE,
GREGORY P. LEWIS, and THOMAS A.
SZLOSEK,

                               Defendants,

       -and-

HONEYWELL INTERNATIONAL INC.,

                         Nominal Defendant.



      VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT FOR BREACH OF
    FIDUCIARY DUTY, WASTE OF CORPORATE ASSETS, UNJUST ENRICHMENT,
     AND CONTRIBUTION FOR VIOLATIONS OF FEDERAL SECURITIES LAWS

       Plaintiff Donald Dempster, Sr. ("Plaintiff"), by his attorneys, submits this Verified

Stockholder Derivative Complaint for Breach of Fiduciary Duty, Waste of Corporate Assets, Unjust

Enrichment, and Contribution for Violations of Federal Securities Laws. Plaintiff alleges the

following on information and belief, except as to the allegations specifically pertaining to the

Plaintiff which are based on personal knowledge. This complaint is also based on the investigation

of Plaintiff's counsel, which included, among other things: (a) review and analysis of regulatory



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filings made by Honeywell International Inc. ("Honeywell" or the "Company") with the U.S.

Securities and Exchange Commission (the "SEC"); (b) review and analysis of press releases and

media reports issued by and disseminated by Honeywell; (c) review of other publicly available

information concerning Honeywell; and (d) the allegations, and the court's denial of the defendants'

motion to dismiss, in the pending securities fraud class action styled Kanefsky v. Honeywell

International Inc., et al., No. 2:18-cv-15536-WJM-JAD (D.N.J.) (the "Securities Class Action").

                        NATURE OF THE ACTION AND OVERVIEW

        1.      This is a stockholder derivative action brought by the Plaintiff on behalf of nominal

defendant Honeywell against certain of its officers and directors for breach of fiduciary duty, waste

of corporate assets, unjust enrichment, and contribution for violations of federal securities laws

from February 9, 2018 through October 19, 2018, inclusive (the "Relevant Period"). These wrongs

resulted in tens of millions of dollars in damages to Honeywell's reputation, goodwill, and standing

in the business community. Moreover, these actions have exposed Honeywell to tens of millions

in potential liability for violations of the federal securities laws.

        2.      Honeywell is a multinational conglomerate that manufactures a variety of

commercial and consumer products, engineering services, and aerospace systems.

        3.      In 1999, Honeywell acquired Bendix Friction Materials ("Bendix"), a manufacturer

of automotive, truck, and industrial brakes. Despite longstanding known health hazards, for a

number of years Bendix used asbestos in its brake and clutch-pad products. This improper and

continued use of asbestos exposed individuals that performed or were in the vicinity of individuals

that performed brake replacements. Thousands of these individuals sued Honeywell for millions

of dollars each. As a result, Honeywell now faces enormous liabilities related to asbestos exposure

from Bendix's products. For example, in January 2019, after a three week trial in Arkansas, a jury




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held Honeywell accountable and awarded more than $18.5 million to the family of a man that

worked at a brake shop in the 1970s, and was exposed to asbestos in brake-shoe linings.

        4.     Despite facing this massive liability, Honeywell significantly understated the

Company's potential asbestos-related liability attributable to Bendix as a result of the

misapplication of applicable accounting rules. Investors began to learn the truth about the extent

of this liability on August 23, 2018, when the Company filed a Current Report on Form 8-K with

the SEC before the market opened. The Form 8-K disclosed that after being confronted by the

SEC, Honeywell had no choice but to revise its accounting treatment of the appropriate accruals

for Bendix asbestos-related liability for unasserted claims in accordance with Accounting

Standards Codification 450, Contingencies ("ASC 450"). As a result of this change, liabilities

were estimated to be "$1,083 million higher than the Company's prior estimation," an increase of

177% from the estimated liability that Honeywell had disclosed just five weeks earlier in its

Quarterly Report on Form 10-Q, filed on July 20, 2018, and repeated in prior SEC filings made in

2018.

        5.     Further, as a direct result of this unlawful course of conduct, Honeywell is now the

subject of a consolidated federal securities class action lawsuit filed in this district on behalf of

investors who purchased Honeywell's shares. The complaint alleges the Company and certain of

its current and former directors and officers violated sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (the "Exchange Act") based upon many of the same or similar facts and

allegations detailed herein. On May 18, 2020, U.S. District Court Judge William J. Martini denied

defendants' motion to dismiss in the Securities Class Action. The court held, among other things,

that the plaintiff in the Securitie Class s Action sufficient pled that Honeywell choose a truncated

amount of time to assess its Bendix liabilities because the Company knew if it did otherwise it




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would significantly increase Honeywell's liabilities.        The court also held that the plaintiff

adequately pled that defendants in the Securities Class Action made the materially false statements

with scienter, meaning "a mental state embracing intent to deceive, manipulate, or defraud."

           6.    The Plaintiff, after serving his demand letter, received confidential documents from

the Company pursuant to 8 Del. C. § 220 relating to the misconduct complained of herein.

Following review of such documents, the Plaintiff served a joint litigation demand with another

stockholder (the "Litigation Demand") on the Honeywell Board of Directors (the "Board") on

April 21, 2020. See Exhibit A hereto. By letter dated June 8, 2020, the Board wrongfully rejected

Plaintiff's Litigation Demand. See Exhibit B hereto.

           7.    Plaintiff brings this action against the Individual Defendants to repair the harm that

they caused with their faithless actions.

                                  JURISDICTION AND VENUE

           8.    Jurisdiction is conferred by 28 U.S.C. §1331. The claims asserted herein arise

under section 21D of the Exchange Act. This Court has exclusive subject matter jurisdiction over

the federal securities laws claims under section 27 of the Exchange Act.              This Court has

supplemental jurisdiction over the state law claims asserted herein under 28 U.S.C. § 1367.

           9.    This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and is incorporated in this District, or is

an individual who has sufficient minimum contacts with this District to render the exercise of

jurisdiction by the District courts permissible under traditional notions of fair play and substantial

justice.

           10.   Venue is proper in this Court in accordance with 28 U.S.C. § 1391(a) because: (i)

Honeywell conducts business in and is incorporated in this District; (ii) a substantial portion of the




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transactions and wrongs complained of herein, including the defendants' primary participation in

the wrongful acts detailed herein, and aiding and abetting and conspiracy in violation of fiduciary

duties owed to Honeywell, occurred in this District; and (iii) defendants have received substantial

compensation in this District by doing business here and engaging in numerous activities that had

an effect in this District.

        11.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have

                                             PARTIES

        12.     Plaintiff was a stockholder of Honeywell at the time of the wrongdoing complained

of, has continuously been a stockholder since that time, and is current Honeywell stockholders.

        13.     Nominal Defendant Honeywell is a multinational conglomerate that produces a

wide range of consumer and industrial products, engineering technology, and aerospace systems.

Honeywell is incorporated under Delaware law.           During the Relevant Period, Honeywell's

principal executive offices were located at 115 Tabor Road, Morris Plains, New Jersey 07950.

Honeywell's common stock is traded on the NYSE under the symbol "HON".

        14.     Defendant Darius E. Adamczyk ("Adamczyk") has been the Chief Executive

Officer ("CEO") of Honeywell since March 2017 and Chairman since April 2018. Defendant

Adamczyk was President from April 2017 to April 2018 and Chief Operating Officer from April

2016 to March 2017. Upon information and belief, Adamczyk is a citizen of North Carolina.

Defendant Adamczyk was awarded the following compensation in 2018:




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       15.    Defendant Duncan B. Angove ("Angove") has been a member of the Board since

February 2018. Upon information and belief, defendant Angove is a citizen of Georgia. Defendant

Angove was awarded the following compensation in 2018:




   Fiscal     Fees Earned or                         Option        All Other
    Year       Paid in Cash      Stock Awards        Awards      Compensation         Total
   2018          $173,434           $50,116          $50,314           $4           $273,868

       16.    Defendant William S. Ayer ("Ayer") has been a member of the Board since

December 2014. Upon information and belief, defendant Ayer is a citizen of Washington.

Defendant Ayer was awarded the following compensation in 2018:




   Fiscal     Fees Earned or                         Option        All Other
    Year       Paid in Cash      Stock Awards        Awards      Compensation         Total
   2018          $180,000           $50,116          $50,314       $25,004          $305,434

       17.    Defendant Kevin Burke ("Burke") has been a member of the Board since January

2010. Defendant Burke served on the Audit Committee at all relevant times. Upon information

and belief, defendant Burke is a citizen of Florida. Defendant Burke was awarded the following

compensation in 2018:




   Fiscal     Fees Earned or                         Option        All Other
    Year       Paid in Cash      Stock Awards        Awards      Compensation         Total
   2018          $185,000           $50,116          $50,314       $25,004          $310,434




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         18.   Defendant D. Scott Davis ("Davis") has been a member of the Board since 2006.

Defendant Davis served on the Audit Committee at all relevant times. Upon information and

belief, defendant Davis is a citizen of Georgia. Defendant Davis was awarded the following

compensation in 2018:

                                                       Change in
                                                     Pension Value
                                                          and
                                                      Nonqualified
                                                        Deferred
Fiscal   Fees Earned or                   Option     Compensation      All Other
 Year     Paid in Cash    Stock Awards    Awards       Earnings      Compensation      Total
2018        $205,000         $50,116      $50,314       $10,319         $1,991       $317,740

         19.   Defendant Linnet F. Deily ("Deily") has been a member of the Board since April

2006. Defendant Deily served on the Audit Committee at all relevant times. Upon information

and belief, defendant Deily is a citizen of Texas. Defendant Deily was awarded the following

compensation in 2018:




    Fiscal      Fees Earned or                      Option        All Other
     Year        Paid in Cash     Stock Awards      Awards      Compensation        Total
    2018           $205,000          $50,116        $50,314       $30,035         $335,465

         20.   Defendant Judd A. Gregg ("Gregg") has been a member of the Board since April

2011. Defendant Gregg served on the Audit Committee at all relevant times. Upon information

and belief, defendant Gregg is a citizen of New Hampshire. Defendant Gregg was awarded the

following compensation in 2018:




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   Fiscal       Fees Earned or                        Option         All Other
    Year         Paid in Cash      Stock Awards       Awards       Compensation         Total
   2018            $185,000           $50,116         $50,314        $25,004          $310,434

         21.    Defendant Clive R. Hollick ("Hollick") has been a member of the Board since 2004.

Upon information and belief, defendant Hollick is a citizen of the United Kingdom. Defendant

Hollick was awarded the following compensation in 2018:

                                                          Change in
                                                        Pension Value
                                                             and
                                                         Nonqualified
                                                           Deferred
Fiscal      Fees Earned or     Stock        Option      Compensation      All Other
 Year        Paid in Cash     Awards        Awards        Earnings      Compensation       Total
2018           $180,000       $50,116       $50,314        $11,399        $45,339        $337,168

         22.    Defendant Grace D. Lieblein ("Lieblein") has been a member of the Board since

December 2012. Upon information and belief, defendant Lieblein is a citizen of Michigan.

Defendant Lieblein was awarded the following compensation in 2018:




   Fiscal       Fees Earned or                        Option         All Other
    Year         Paid in Cash      Stock Awards       Awards       Compensation         Total
   2018            $180,000           $50,116         $50,314        $15,227          $295,657

         23.    Defendant Jaime Chico Pardo ("Pardo") was a member of the Board from

December 1999 until April 2020, and was the Lead Director at all relevant times. Defendant Pardo

was a member ex officio of the Audit Committee at all relevant times. Upon information and

belief, defendant Pardo is a citizen of Mexico. Defendant Pardo was awarded the following

compensation in 2018:



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   Fiscal     Fees Earned or                         Option         All Other
    Year       Paid in Cash       Stock Awards       Awards       Compensation         Total
   2018          $215,000            $50,116         $50,314        $27,335          $342,765

       24.    Defendant George Paz ("Paz") has been a member of the Board since December

2008. Defendant Paz chaired the Audit Committee at all relevant times. Upon information and

belief, defendant Paz is a citizen of Missouri.    Defendant Paz was awarded the following

compensation in 2018:




   Fiscal     Fees Earned or                         Option         All Other
    Year       Paid in Cash       Stock Awards       Awards       Compensation         Total
    2018         $205,000            $50,116         $50,314        $25,004          $330,434

       25.    Defendant Robin L. Washington ("Washington") has been a member of the Board

since April 2013. Defendant Washington served on the Audit Committee at all relevant times.

Upon information and belief, defendant Washington is a citizen of California.        Defendant

Washington was awarded the following compensation in 2018:




   Fiscal     Fees Earned or                         Option         All Other
    Year       Paid in Cash       Stock Awards       Awards       Compensation         Total
   2018          $194,287            $50,116         $50,314            $4           $294,721

       26.    Defendant David M. Cote ("Cote") was Honeywell's CEO until March 2017 and

Executive Chairman until April 2018. Upon information and belief, defendant Cote is a citizen of

Florida. Defendant Cote was awarded the following compensation in 2017:


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                                                             Change in
                                                           Pension Value
                                                                and
                                                            Nonqualified
                                         Non-Equity           Deferred
                          Option       Incentive Plan      Compensation           All Other           SEC Total
 Year     Salary         Awards        Compensation          Earnings           Compensation        Compensation
 2017    $900,962       $9,990,000       $8,645,000          $788,013             $631,564           $20,955,539

         27.        Defendant Gregory P. Lewis ("Lewis") has been Honeywell's Chief Financial

Officer ("CFO") since August 2018. Before that, defendant Lewis was the Company's Vice

President of Corporate Finance, with responsibility for Treasury, Tax, Audit, Business Analysis

and Planning, Investor Relations, M&A, Real Estate, Pension, Finance Operations, and Enterprise

Information Management beginning in May 2018. Upon information and belief, defendant Lewis

is a citizen of North Carolina. Defendant Lewis was awarded the following compensation in 2018:

                                                                 Change in
                                                               Pension Value
                                                                    and
                                                                Nonqualified
                                                  Non-Equity      Deferred                               Non-SEC Total
                                                Incentive Plan Compensation    All Other    SEC Total       Annual
 Year     Salary     Stock Awards Option Awards Compensation      Earnings   Compensation Compensation   CompensationA
 2018    $578,981      $554,742     $591,250       $730,000       $103,155     $48,365      $2,606,493     $2,454,973




         28.        Defendant Thomas A. Szlosek ("Szlosek") was Honeywell's CFO at all relevant

times until August 3, 2018. Upon information and belief, defendant Szlosek is a citizen of New

Jersey. Defendant Szlosek was awarded the following compensation in 2018:

                                                                 Change in
                                                               Pension Value
                                                                    and
                                                                Nonqualified
                                                                  Deferred
                               Stock            Option         Compensation         All Other              SEC Total
  Year          Salary        Awards           Awards            Earnings         Compensation           Compensation
  2018         $560,481      $4,050,122       $1,348,050         $229,616           $15,135               $6,203,404

         29.        Defendants Adamczyk, Angove, Ayer, Burke, Davis, Deily, Gregg, Hollick,

Lieblein, Pardo, Paz, Washington, Cote, Lewis, and Szlosek are collectively referred to as the

"Individual Defendants." By reason of their positions as officers and directors of the Company,


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each of the Individual Defendants owed and owe Honeywell and its stockholders fiduciary

obligations of trust, loyalty, good faith, and due care, and were and are required to use their utmost

ability to control and manage Honeywell in a fair, just, honest, and equitable manner. The

Individual Defendants were and are required to act in furtherance of the best interests of Honeywell

and not in furtherance of their personal interest or benefit.

                       DUTIES OF THE INDIVIDUAL DEFENDANTS

Fiduciary Duties

       30.     To discharge their duties, the officers and directors of Honeywell were required to

exercise reasonable and prudent supervision over the management, policies, practices, and controls

of the financial affairs of the Company. By virtue of such duties, the officers and directors of

Honeywell were required to, among other things:

               (a)     accurately guide the Company's stockholders and the public when speaking

about the Company's results of operations, liabilities, and financial condition;

               (b)     ensure that Honeywell operated in a diligent, honest, and prudent manner in

compliance with all applicable laws, rules, and regulations, including the federal securities laws;

               (c)     conduct the affairs of the Company in an efficient, business-like manner in

compliance with all applicable laws, rules, and regulations so as to make it possible to provide the

highest quality performance of its business, to avoid wasting the Company's assets, and to

maximize the value of the Company's stock; and

               (d)     remain informed as to how Honeywell conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, make reasonable

inquiry in connection therewith, and take steps to correct such conditions or practices and make

such disclosures as necessary to comply with applicable laws.




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       31.     The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as officers and directors of Honeywell, the absence of

good faith on their part, and a reckless disregard for their duties to the Company that the Individual

Defendants were aware or reckless in not being aware posed a risk of serious injury to the

Company.

Breaches of Duty

       32.     The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as officers and directors of Honeywell, the absence of

good faith on their part, and a reckless disregard for their duties to the Company that the Individual

Defendants were aware or reckless in not being aware posed a risk of serious injury to the

Company.

       33.     The Individual Defendants breached their duty of loyalty and good faith by

allowing defendants to cause, or by themselves causing, the Company to disseminate information

that failed to disclose to investors that their SEC filings in the first half of 2018 concealed material

information from investors about Honeywell's Bendix-related asbestos liabilities.

       34.     The Individual Defendants, because of their positions of control and authority as

officers and/or directors of Honeywell, were able to and did, directly or indirectly, exercise control

over the wrongful acts complained of herein. The Individual Defendants also failed to prevent the

other Individual Defendants from taking such illegal actions. As a result, and in addition to the

damage the Company has already incurred, Honeywell has expended, and will continue to expend,

significant sums of money.

Additional Duties of the Audit Committee Defendants

       35.     In addition to these duties, under its Charter in effect since February 28, 2017, the

"Audit Committee Defendants," namely defendants Burke, Davis, Deily, Gregg, Pardo, Paz, and


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Washington, owed specific duties to Honeywell to "provide assistance to the Board of Directors

in fulfilling its responsibilities relating to oversight of (i) the Company's accounting and financial

reporting practices and internal control system, (ii) the independent auditor's qualifications and

independence, (iii) the performance of the Company's internal audit function and independent

auditor, and (iv) compliance with legal and regulatory requirements." Moreover the Audit

Committee's Charter provides the Audit Committee is responsible for assisting the Board's

oversight of:

                (a)    the integrity of Honeywell's financial statements and Honeywell's

accounting and financial reporting processes and systems of internal control over financial

reporting and safeguarding Company assets;

                (b)    Honeywell's compliance with legal and regulatory requirements;

                (c)    Honeywell's independent auditors' retention, termination, qualifications,

independence, and performance;

                (d)    the performance of Honeywell's internal auditors and internal audit

function;

                (e)    Honeywell's financial matters and financial strategy; and

                (f)    Honeywell's guidelines and policies with respect to risk assessment and risk

management.


       36.      In addition, the Audit Committee Charter provides:

       Audit Committee Charter
       (Approved by the Board on 9/27/19)

       The Committee shall review this Charter on an annual basis and recommend any
       changes to the Board for approval.

       I. Composition



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    The Committee shall be composed of three or more members of the Board of
    Directors who meet the requirements established for audit committee members
    under the listing standards and rules of the New York Stock Exchange and the
    Securities and Exchange Commission. At least one member of the Committee shall
    satisfy the financial expertise requirements set forth in such listing standards and
    rules.
    The members of the Committee shall be elected by the Board at the
    recommendation of the Corporate Governance and Responsibility Committee. If an
    Audit Committee Chair is not designated or present, the members may designate a
    Chair by majority vote.

    II. Meetings

    The Committee shall meet at least eight times each fiscal year. The Committee shall
    meet with management, and shall meet periodically with the chief internal auditor
    and the independent auditors in separate executive sessions.
    III. Purpose

    The Committee shall provide assistance to the Board of Directors in fulfilling its
    responsibilities relating to oversight of (i) the Company's accounting and financial
    reporting practices and internal control system, (ii) the independent auditor's
    qualifications and independence, (iii) the performance of the Company's internal
    audit function and independent auditor, and (iv) compliance with legal and
    regulatory requirements.

    The Company's management is responsible for preparing the Company's financial
    statements and the independent auditors are responsible for auditing those financial
    statements. The Committee is responsible for overseeing the conduct of these
    activities by the Company's management and the independent auditors.

    IV. Responsibilities

    The following shall be the primary activities of the Committee in carrying out its
    oversight responsibilities. The Committee may, from time to time, alter its
    procedures as appropriate given the circumstances and shall perform such other
    functions as may be assigned to it by law, the Company's charter, the By-laws or
    by the Board.

    1. Review the results of each external audit of the Company's financial statements,
    including any certification, report, opinion or review rendered by the independent
    auditor in connection with the financial statements, and ensure that the independent
    auditor has full access to the Committee during its performance of the audits to
    report on any and all appropriate matters.

    2. Review other matters related to the conduct of the audit which are communicated
    to the Committee under generally accepted auditing standards and rules of the


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    Securities and Exchange Commission.

    3. Based on the review under 1 and 2 above, the Committee will advise the Board
    of Directors whether it recommends that the audited financial statements be
    included in the Company's Annual Report on Form 10-K and prepare the
    Committee report to be included in the Company's proxy statement in accordance
    with Securities and Exchange Commission rules.

    4. Review with management and the independent auditors, prior to the filing
    thereof, the Company's annual and interim financial results (including
    Management's Discussion and Analysis) to be included in Forms 10-K and 10-Q,
    respectively, and the matters required to be communicated to the Audit Committee
    under generally accepted auditing standards and rules of the Securities and
    Exchange Commission. The Chair of the Committee may represent the entire
    Committee for purposes of the interim review.

    5. Appoint, and recommend to the shareowners for approval, the firm to be engaged
    as the Company's independent auditor, which firm shall report directly to the
    Committee. The Committee shall be directly responsible for the compensation,
    retention and oversight of the independent auditor, including the resolution of
    disagreements between management and the independent auditor regarding
    financial reporting. The Committee shall have the sole authority to approve all audit
    engagement fees and terms.

    6. Review and discuss earnings releases, guidance releases and presentations to be
    made public in connection with such releases, including the types of financial
    information to be disclosed in connection with such disclosures.

    7. Evaluate at least annually the independent auditor's performance and, if
    appropriate, recommend its discharge.

    8. Receive at least annually the written disclosures and the letter from the
    independent auditor required by the applicable requirements of the Public Company
    Accounting Oversight Board regarding the independent auditor's communications
    with the Committee concerning independence. The Committee shall discuss with
    the auditor the scope of any disclosed relationships and their impact or potential
    impact on the auditor's independence and objectivity, and recommend that the full
    Board take appropriate action to satisfy itself of the auditor's independence.

    9. Review at least annually reports by the independent auditor describing the
    auditor's internal quality control procedures, material issues raised by its most
    recent internal quality control (or peer) review, all relationships between the auditor
    and the Company, and any audit problems or difficulties and management's
    response.

    10. Approve all non-audit engagements with the independent auditor, either
    through express prior review and approval or through the adoption of policies and
    procedures for engaging the independent auditor to perform services other than


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    audit, review and attest services. Between regularly-scheduled meetings of the
    Committee, the Chair of the Committee may represent the entire Committee for
    purposes of the review and approval of the terms of non-audit engagements with
    the independent auditor.

    11. Review, with management and the independent auditor, the Company's internal
    control over financial reporting, including management's annual assessment of the
    adequacy and effectiveness of internal control over financial reporting, any
    significant deficiencies or material weaknesses in internal controls (including the
    remediation thereof), any fraud (regardless of materiality) involving management
    or other employees having a significant role in internal control over financial
    reporting, and any changes in internal controls that have materially affected or are
    likely to materially affect internal control over financial reporting. The foregoing
    shall include review of reports of the independent auditor and the chief internal
    auditor related to the adequacy of the Company's internal accounting controls,
    including any management letters and management's responses to
    recommendations made by the independent auditor or the chief internal auditor.

    12. Review, with appropriate members of senior management, the Company's
    disclosure controls and procedures, including management's conclusions about the
    effectiveness thereof and any material non-compliance therewith, and any audit
    steps adopted in light of any such non-compliance.

    13. Review, in consultation with the independent auditor and the chief internal
    auditor, the scope and plan of forthcoming external and internal audits (including
    areas to be examined, the adequacy of personnel to be assigned to the audits, other
    factors that may affect the audit timeline, and audit procedures), the involvement
    of the internal auditors in the audit examination, and the independent auditor's
    responsibility under generally accepted auditing standards.

    14. Oversee the Company's policies with respect to risk assessment and risk
    management, including the Company's risk assessment policies, major financial
    risks and enterprise exposures, and steps taken to monitor, control and respond to
    such exposures.

    15. As appropriate, obtain advice and assistance from outside legal, accounting or
    other advisors.

    16. Review, approve and thereby establish procedures for the receipt, retention and
    treatment of complaints received by the Company regarding accounting, internal
    accounting controls or auditing matters and for the confidential, anonymous
    submission by employees of concerns regarding questionable accounting or
    auditing matters. Review at least quarterly the Company's significant accounting,
    internal control and other integrity and compliance investigations.

    17. Review material legal and compliance matters involving the Company
    periodically with the Company's Senior Vice President and General Counsel and



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       the Vice President – Global Compliance, it being understood that each such
       individual has express authority to communicate personally with the Chair of the
       Audit Committee about any such matter as appropriate.

       18. Monitor and provide risk oversight with respect to focus areas as may be
       assigned to the Committee from time to time by the Board of Directors, including
       cybersecurity, tax and liquidity management, product integrity and product
       security, vendor risk, operational business continuity, and crisis management.

       19. Review, approve and thereby establish clear hiring policies regarding
       employees or former employees of the independent auditor.

       20. Review succession planning for the Company's finance and accounting
       function, including the appointment and replacement of the Company's chief
       internal auditor.

       21. The Committee shall have the power to inquire into any financial matters not
       set forth above, and shall perform such other functions as may be assigned to it by
       law, or the Company's charter or By-laws, or by the Board.

       22. Undertake an annual performance evaluation of the activities of the Committee,
       including the Committee's charter and its responsibilities as set forth above.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       37.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their common plan or design. In addition to the

wrongful conduct herein alleged as giving rise to primary liability, the Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties

       38.     During all times relevant hereto, the Individual Defendants, collectively and

individually, initiated a course of conduct that was designed to and did: (i) deceive the investing

public, including stockholders of Honeywell, regarding Honeywell's Bendix-related asbestos

liabilities; and (ii) enhance the Individual Defendants' executive and directorial positions at

Honeywell and the profits, power, and prestige that the Individual Defendants enjoyed as a result




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of holding these positions. In furtherance of this plan, conspiracy, and course of conduct, the

Individual Defendants, collectively and individually, took the actions set forth herein.

       39.     The Individual Defendants engaged in a conspiracy, common enterprise, and/or

common course of conduct. During this time, the Individual Defendants caused the Company to

issue improper financial statements.

       40.     The purpose and effect of the Individual Defendants' conspiracy, common

enterprise, and/or common course of conduct was, among other things, to disguise the Individual

Defendants' violations of law, breaches of fiduciary duty, waste of corporate assets, and unjust

enrichment; and to conceal adverse information concerning the Company's operations, financial

condition, and future business prospects.

       41.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company to purposefully or recklessly release

improper statements. Because the actions described herein occurred under the authority of the

Board, each of the Individual Defendants was a direct, necessary, and substantial participant in the

conspiracy, common enterprise, and/or common course of conduct complained of herein.

       42.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was aware of his or her overall contribution to and furtherance of the wrongdoing.




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                              SUBSTANTIVE ALLEGATIONS

Background on Honeywell's Asbestos Liability

       43.     Honeywell is a multinational conglomerate that produces a wide range of consumer

and industrial products, engineering technology, and aerospace systems.

       44.     Asbestos is toxic to human beings and results in a range of known effects, from

asymptomatic scarring of the lungs (pleural plaques) to functionally limiting disease, including

asbestosis and fatal cancers of the lining of the chest, heart, abdomen and lungs. Asbestosis and

lung cancer are generally related to the quantum of exposure and are found among workers.

Mesothelioma is a cancer primarily of the pleura and peritoneum and can result from only trivial

exposure and, thus, affects both workers and the general population, often presenting decades

following exposure

       45.     Honeywell is a defendant in asbestos-related personal injury actions related to two

predecessor companies, North American Refractories Company ("NARCO"), which was sold in

1986, and Bendix, which was sold in 2014.

       46.     NARCO produced refractory products (bricks and cement used in high temperature

applications). Claimants from NARCO asbestos liabilities consist largely of individuals who

allege exposure to NARCO asbestos-containing refractory products in an occupational setting.

Rather than the traditional tort system, NARCO claims are processed through a Trust established

under federal bankruptcy laws. The model used for determining how much money was placed in

this Trust was based on a fifteen-year time horizon because, as Honeywell explains, "it represented

our best estimate of the time period it would take for the Trust to be approved by the Bankruptcy

Court, become fully operational and generate sufficiently reliable claims data … to enable us to

update our NARCO Trust asbestos accrual, including by potentially applying a different time




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horizon to the projection." The Trust became operational in 2013; there was no claims data

available to Honeywell before that time.

        47.     Bendix manufactured automotive brake parts that contained chrysotile asbestos in

an encapsulated form. Despite known health hazards, Bendix used asbestos in its brake- and

clutch-pad products until 2001.       Claimants of Bendix asbestos liabilities consist largely of

individuals who allege exposure to asbestos from brakes from either performing or being in the

vicinity of individuals who performed brake replacements. Unlike with NARCO, the Bendix

claims are processed through the traditional tort system.

        48.     Although Honeywell sold Bendix in 2014, Honeywell has been sued in tens of

thousands of cases alleging exposure to asbestos from Bendix products, and between Honeywell

and its insurance companies, over $1 billion has been spent to resolve the claims. Despite having

far more claims data than was available for the NARCO Trust, Honeywell only used a five-year

time horizon, rather than the fifteen-year time horizon used for NARCO, to estimate its Bendix-

related asbestos liabilities in early 2018.

Honeywell Misleads the Market Regarding Its Asbestos Liability

        49.     Honeywell filed its Annual Report on Form 10-K for 2017 on February 9, 2018

(the "2017 10-K"). Defendants Adamczyk, Cote, Gregg, Hollick, Ayer, Lieblein, Burke, Paz,

Pardo, Davis, Washington, Deily, and Szlosek signed the 2017 10-K. Honeywell stated its

estimation of the Bendix-related asbestos liabilities was $616 million. This figure only included

an estimated value of the claims to be asserted over a five-year time horizon, and therefore was a

gross underestimation of the Company's true Bendix-related asbestos liabilities. Honeywell

continued to use this five-year time horizon method of calculating the Bendix-related asbestos.




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       50.     The 2017 10-K contained a series of "Notes" to its consolidated financial

statements. Note 19, titled "Commitments and Contingencies," discussed the Company's asbestos-

related liabilities. In Note 19, Honeywell provided a chart showing that its total Bendix-related

asbestos liabilities were $616 million as of December 31, 2017:




       51.     This representation was false and materially misleading because Honeywell's true

Bendix-related asbestos liabilities as of December 31, 2017 was $1.703 billion, nearly three times

more than the amount represented. The representation was also materially false and/or misleading

because it stated that Honeywell was complying with generally accepted accounting principles

("GAAP") and various accounting standards, namely ASC 450, in calculating this figure. It was

not. Honeywell was, in fact, not adhering to ASC 450 or, for that matter, industry norms. Instead

of estimating its Bendix-related asbestos liabilities to account for the full term of the

epidemiological studies, Honeywell was cutting off its estimates after five years, thus disregarding

any potential for liability from that point forward. There was no conceptual basis for limiting this

ASC 450 assessment. Honeywell provided its $616 million estimate without any warning that the

estimate was unsupported by, contrary to, and in violation of applicable accounting standards.

This was not a matter of opinion, but instead a direct and intentional violation of generally accepted

accounting principles.


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          52.    In Note 19, Honeywell also provided investors with a description of its method for

determining the Company's Bendix-related asbestos liabilities. In pertinent part, the 2017 10-K

stated:

          Our consolidated financial statements reflect an estimated liability for resolution of
          pending (claims actually filed as of the financial statement date) and future Bendix-
          related asbestos claims. We have valued Bendix pending and future claims using
          average resolution values for the previous five years. We update the resolution
          values used to estimate the cost of Bendix pending and future claims during the
          fourth quarter each year.

          The liability for future claims represents the estimated value of future asbestos
          related bodily injury claims expected to be asserted against Bendix over the next
          five years. Such estimated cost of future Bendix-related asbestos claims is based on
          historic claims filing experience and dismissal rates, disease classifications, and
          resolution values in the tort system for the previous five years. In light of the
          uncertainties inherent in making long-term projections, as well as certain factors
          unique to friction product asbestos claims, we do not believe that we have a
          reasonable basis for estimating asbestos claims beyond the next five years. The
          methodology used to estimate the liability for future claims is similar to that used
          to estimate the liability for future NARCO-related asbestos claims.

(Emphasis added).

          53.    This statement was materially false and misleading. Honeywell knew that it was

able to "estimat[e] asbestos claims beyond the next five years," but intentionally decided not to do

so. Honeywell's decision to restate its asbestos liability estimates on August 23, 2018, proves this

point and confirms the Company had the information necessary to provide the correct financial

information throughout the Relevant Period. Thus, Honeywell, Adamczyk, and Szlosek lied when

they told investors the Company did not have the ability to estimate Bendix- related liabilities for

a period greater than five years in the future.

          54.    The 2017 10-K also indicates that Honeywell had net income of $1.655 billion

attributed to Honeywell and comprehensive income of $2.177 billion. However, unbeknownst to

investors this number was false and misleading as Honeywell had actually inflated its net income




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by 6.5% and comprehensive income by 5% by limiting asbestos liability to just five years. In other

words, had Honeywell properly accounted for its $1.703 billion of Bendix-related asbestos

liabilities, the Company's net income and comprehensive income would have been decreased by

6.5% and 5%, respectively.

       55.     In connection with Honeywell's 2017 10-K, defendants Adamczyk and Szlosek

each certified pursuant to the Sarbanes-Oxley Act of 2002 ("SOX") that they reviewed the 2017

10-K. Specifically, Adamczyk and Szlosek each certified that:

       1.      I have reviewed this Annual Report on Form 10-K of Honeywell
       International Inc.

       2.     Based on my knowledge, this report does not contain any untrue statement
       of a material fact or omit to state a material fact necessary to make the statements
       made, in light of the circumstances under which such statements were made, not
       misleading with respect to the period covered by this report;

       3.      Based on my knowledge, the financial statements, and other financial
       information included in this report, fairly present in all material respects the
       financial condition, results of operations and cash flows of the registrant as of, and
       for, the periods presented in this report;

       4.     The registrant's other certifying officer and I are responsible for establishing
       and maintaining disclosure controls and procedures (as defined in Exchange Act
       Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as
       defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

               (a) designed such disclosure controls and procedures, or caused such
                   disclosure controls and procedures to be designed under our
                   supervision, to ensure that material information relating to the
                   registrant, including its consolidated subsidiaries, is made known to us
                   by others within those entities, particularly during the period in which
                   this report is being prepared;

               (b) designed such internal control over financial reporting, or caused
                   such internal control over financial reporting to be designed under
                   our supervision, to provide reasonable assurance regarding the
                   reliability of financial reporting and the preparation of financial
                   statements for external purposes in accordance with generally
                   accepted accounting principles;




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               (c) evaluated the effectiveness of the registrant's disclosure controls and
                   procedures and presented in this report our conclusions about the
                   effectiveness of the disclosure controls and procedures, as of the end of
                   the period covered by this report based on such evaluation; and

               (d) disclosed in this report any change in the registrant's internal control
                   over financial reporting that occurred during the registrant's most recent
                   fiscal quarter (the registrant's fourth fiscal quarter in the case of an
                   annual report) that has materially affected, or is reasonably likely to
                   materially affect, the registrant's internal control over financial
                   reporting;

       5.     The registrant's other certifying officer and I have disclosed, based on our
       most recent evaluation of internal control over financial reporting, to the registrant's
       auditors and the audit committee of the registrant's board of directors (or persons
       performing the equivalent functions):

               (a)    all significant deficiencies and material weaknesses in the design
               or operation of internal control over financial reporting which are
               reasonably likely to adversely affect the registrant's ability to record,
               process, summarize and report financial information; and

               (b)    any fraud, whether or not material, that involves management
               or other employees who have a significant role in the registrant's
               internal control over financial reporting.

(Emphasis added).

       56.     Defendants Adamczyk and Szlosek's certifications were materially false and/or

misleading for three reasons.     First, the certifications falsely represented that the financial

statements within the 2017 10-K "fairly present[ed] in all material respects the financial condition

… of the registrant as of, and for, the periods presented in this report." This was not true. As

discussed above, Honeywell's true Bendix-related asbestos liabilities as of December 31, 2017 was

$1.703 billion, nearly three times more than the amount represented.

       57.     Second, the certifications falsely represented that Honeywell's internal controls

over financial reporting were designed to ensure the Company's financial statements within the

2017 10-K were in conformance with generally accepted accounting principles. This was not true.




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As discussed above, Honeywell and its senior management (including defendants Adamczyk and

Szlosek) had implemented and maintained an internal control that allowed the Company to

inappropriately rely on limited objective and verifiable data in order to use a five-year horizon

when estimating Bendix-related asbestos liabilities. In turn, the control allowed Honeywell to

under-report its liability based on what the data would have otherwise indicated had it not truncated

the liability at a five-year horizon. This was not in conformance with GAAP. Accordingly,

Honeywell's internal controls over financial reporting were not designed to ensure compliance

with GAAP principles.

       58.     Third, although defendants Adamczyk and Szlosek represented in their

certifications that they had disclosed all significant deficiencies and material weaknesses in the

design or operation of internal control over financial reporting, they in fact had not. As discussed

above, defendants Adamczyk and Szlosek were responsible for the implementation and

maintenance of an internal control that violated GAAP and, in turn, allowed Honeywell to

materially under- report its Bendix-related asbestos liabilities. Defendants Adamczyk and Szlosek

had not disclosed this significant deficiency and/or material weakness and, as a result, their

certifications were materially false and misleading.

       59.     The omissions and/or misrepresentations in the 2017 10-K and the accompanying

certifications were material because the true facts would have altered the total mix of information

available to investors when deciding to purchase Honeywell stock.

       60.     Honeywell repeated that disclosure and included five years of expected Bendix

liabilities in its Quarterly Reports on Form 10-Q for the first and second quarter of 2018, filed on

April 20, 2018 and July 20, 2018 respectively.




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        61.    On April 20, 2018, Honeywell filed a Quarterly Report on Form 10-Q with the

SEC, announcing the Company's financial and operating results for the first quarter of 2018 (the

"Q1 2018 10-Q"). Jennifer H. Mak signed the Q1 2018 10-Q on behalf of Honeywell.

        62.    The Q1 2018 10-Q contained a series of "Notes" to its consolidated financial

statements. Note 14, titled "Commitments and Contingencies," discussed the Company's asbestos-

related liabilities. In a table under Note 14, Honeywell represented that its total Bendix-related

asbestos liabilities were $616 million as of December 31, 2017, and $615 million as of March 31,

2018:




        63.    This representation was false and materially misleading because Honeywell's true

Bendix-related asbestos liabilities as of December 31, 2017 were actually $1.703 billion, nearly

three times more than the amount represented.

        64.    The Q1 2018 10-Q also repeated the false disclosure contained in the 2017 10-K

that "[i]n light of the uncertainties inherent in making long-term projections, as well as certain

factors unique to friction product asbestos claims, we do not believe that we have a reasonable

basis for estimating asbestos claims beyond the next five years."

        65.    In connection with Honeywell's Q1 2018 10-Q, defendants Adamczyk and Szlosek

each certified pursuant to SOX that they reviewed the Q1 2018 10-Q.

        66.    On July 20, 2018, Honeywell filed a Quarterly Report on Form 10-Q with the SEC,

announcing the Company's financial and operating results for the second quarter of 2018 (the "Q2

2018 10-Q"). John J. Tus ("Tus") signed the Q2 2018 10-Q on behalf of Honeywell.



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       67.     The Q2 2018 10-Q contained a series of "Notes" to its consolidated financial

statements. Note 15, titled "Commitments and Contingencies," discussed the Company's asbestos-

related liabilities. Within Note 15, Honeywell represented that its total Bendix-related asbestos

liabilities were $616 million as of December 31, 2017, and $610 million as of June 30, 2018:




       68.     As described above, this representation was materially false and/or misleading

because Honeywell's true Bendix-related asbestos liabilities were $1.703 billion as of December

31, 2017, nearly three times more than the amount represented.

       69.     The Q2 2018 10-Q also repeated the false disclosure contained in the 2017 10-K

that "[i]n light of the uncertainties inherent in making long-term projections, as well as certain

factors unique to friction product asbestos claims, we do not believe that we have a reasonable

basis for estimating asbestos claims beyond the next five years."

       70.     In connection with Honeywell's Q2 2018 10-Q, defendants Adamczyk and Szlosek

each certified pursuant to SOX that they reviewed the Q2 2018 10-Q.

The Individual Defendants Knew or Should Have Known the Asbestos-Related Statements
Were False
       71.     Under ASC 450, Honeywell is required to account for and provide disclosures

related to loss contingencies, including its estimated liability stemming from litigation. ASC 450,

the authoritative accounting standard under U.S. generally accepted accounting principles

concerning loss contingencies, provides that a company must accrue for a loss when that loss is

both probable and reasonably estimable. See ASC 450-20-25-2. If a loss is reasonably possible,

but not probable, and is reasonably estimable, then ASC 450-20-50-3 directs that a company



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disclose that contingent loss but not record an accrual. ASC 450-20 makes clear that the same

standards for accrual and disclosure of contingent liabilities apply to both unasserted claims as

well as asserted claims. Specifically, ASC 450-20-55-14 provides, "[w]ith respect to unasserted

claims and assessments, an entity must determine the degree of probability that a suit may be filed

or a claim or assessment may be asserted and the possibility of an unfavorable outcome…. If an

unfavorable outcome is probable and the amount of loss can be reasonably estimated, accrual of a

loss is required by paragraph 450-20-25-2."

       72.     Prior to August 2018, Honeywell accounted for Bendix related asbestos liabilities

for a limited five-year horizon. As Honeywell would later admit, this accounting policy did not

comply with the provisions of ASC 450 when measuring asbestos liabilities related to unasserted

Bendix claims. This is because Honeywell possessed data that could yield a probable and

reasonably estimable projection of liability under ASC 450 for the full term of the epidemiological

projections beyond just five years.

       73.     Bendix claims have been addressed through the tort system since the mid-1970s,

creating a body of historical claims information on which to rely when estimating a future

projection of liability. Each year, Honeywell has a substantial body of real-time data of claims

asserted, dismissal rates and resolution values that is more than sufficiently robust to support

reliable estimates. For Bendix, historical claims data is readily available on a real-time basis

through its day-to-day experience in the tort system. The robustness of this data supports the

conclusion that application of the claims data to the full term of the epidemiological projections

yields a probable and reasonably estimable projection of liability under ASC 450.

       74.     Historically, Honeywell's accounting process for recognition of the Bendix asbestos

liability begins with notification of claims being asserted against Honeywell via outside counsel




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which also serves as the Bendix claims administrator. It continues with the processing of the claim

and case resolution (either dismissal or settlement), the processing of any applicable settlement

payments, the accounting for claims filings, dismissals and payment, the insurance recovery

process, and ends with the related financial reporting and financial statement disclosures.

       75.     In addition to a liability for pending claims (claims filed in the tort system against

Honeywell as of the financial statement date), Honeywell assesses the potential liability from

unasserted claims (claims expected to be filed against Honeywell in future periods). The pending

claims balance, including data on claim filings, settlements and dismissals, are reported to

Honeywell on a monthly basis by its claims administrator.

       76.     The amount of the pending claims liability is calculated monthly by Honeywell

representing a product of the pending claims balances by disease category multiplied by the

average resolution values by disease category. The average resolution values by disease category

are based on actual settlements and dismissals by disease category for the previous five years.

These average resolution values are monitored by Honeywell quarterly and updated in the fourth

quarter of each year.

       77.     Honeywell utilizes a third-party specialist to determine its liability for unasserted

claims based on the following: epidemiological projections of the future incidence of disease;

historical claims rate experience by disease category in the tort system; and historical resolution

values (settlements and dismissals) by disease category.

       78.     The liability for unasserted claims is updated by the third-party specialist in the

fourth quarter each year based on the factors described above. The historical claims information

is provided to the third-party specialist by the third-party claims administrator.




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        79.     As such, Honeywell's estimated value of Bendix related liabilities included future

anticipated claims based on historical claims filing experience and dismissal rates, disease

classifications, and average resolution values in the tort system for the previous five years.

        80.     In addition to historical data, Honeywell, its third-party specialists, and its outside

legal counsel considered emerging trends and discoveries.

        81.     According to Honeywell's August 20, 2018 letter to the SEC, described more fully

below, "[s]ignificant weight was placed on the emerging science and studies that indicated the

nature and application of the asbestos used in manufactured automotive brake parts by Bendix

does not cause disease. Management also focused on evidence suggesting improvements in the

tort system with regards to the resolution of asbestos claims (this information and insights having

been provided to management by outside counsel)." Due to the evolving nature of these trends,

Honeywell claimed it could not determine a probable and reasonably estimable future liability

beyond five years in the future.

        82.     However, this claim was incorrect, as the wealth of historical data available to

Honeywell and its third-party specialist allowed it to later estimate future liabilities out to the year

2059. By only presenting the liabilities for a five-year horizon, Honeywell, by its own admission,

"did not consider or use all available evidence to evaluate whether they should apply the full term

or any other time horizon of epidemiological projections to the liability that might have been more

appropriate than a five-year time horizon based on that evidence."

Honeywell's Misstatements Are Uncovered by the SEC

        83.     On the morning of August 23, 2018, Honeywell filed an Item 7.01 disclosure on

Current Report on Form 8-K with the SEC revealing that it had revised its method for estimating

its liability for unasserted Bendix-related asbestos claims by considering the epidemiological

projections through 2059 instead of the previous five-year time horizon.


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       84.     The August 23, 2018 Form 8-K states in pertinent part:

       During the course of the Securities and Exchange Commission (SEC) review of the
       Form 10 filing for the planned spin-off of its Transportation Systems business,
       Garrett Motion Inc. ("Garrett"), Honeywell International Inc. ("Honeywell", the
       "Company" or "We") has been engaged in discussions with the staff of the SEC
       (the "Staff") regarding Garrett's accounting for its liability for unasserted Bendix-
       related asbestos claims and, in conjunction therewith, reviewed the accounting
       treatment of its legacy Bendix asbestos liabilities. The Staff's comments related to
       Garrett's accounting in this area are also applicable to Honeywell's historical
       financial statements.

       Following these discussions, the Company revised its accounting related to the
       time period associated with the determination of appropriate accruals for the
       legacy Bendix asbestos-related liability for unasserted claims in accordance with
       Accounting Standards Codification 450, Contingencies ("ASC 450"). The prior
       accounting treatment, disclosed in our footnotes to our historical financial
       statements, applied a five-year time horizon; the revised treatment reflects the full
       term of epidemiological projections through 2059. The change was made in
       consideration of a number of factors, including the subjective nature of applying
       a five-year or any other fixed time horizon when estimating liability for
       unasserted claims, recent changes by several other registrants to accrue for
       unasserted asbestos claims over the full term of the epidemiological projections
       and the desire to facilitate comparability among Honeywell, Garrett and their
       respective peers.

       Our consolidated balance sheets, consolidated statements of operations,
       consolidated statements of comprehensive income, consolidated statements of
       shareholders' equity, and consolidated statements of cash flows relative to prior
       periods will be immaterially revised to correct the Company's application of ASC
       450 with respect to Bendix related-asbestos liabilities.

(Emphasis added).

       85.     Attached to the August 23, 2018 Form 8-K as Exhibit 99 were restated consolidated

balance sheets that showed the impact of the change in accounting methodology. These tables

indicated an additional $1.083 billion in asbestos-related liabilities for the quarter ended June 30,

2018 and an additional $1.087 billion in asbestos-related liabilities for the year ended December

31, 2017.




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       86.     The August 23, 2018 Form 8-K Exhibit 99 states:

       Asbestos Matters

       The Company has revised its method for reasonably estimating its liability for
       unasserted Bendix asbestos-related claims by considering the epidemiological
       projections through 2059 of future incidence of Bendix asbestos-related disease.
       Using this method, the Company's Bendix asbestos-related liability is estimated
       to be $1,693 million as of June 30, 2018. This is $1,083 million higher than the
       Company's prior estimation which applied a five-year horizon when estimating the
       liability for unasserted Bendix asbestos-related claims.

(Emphasis added).

       87.     As a result, the Company's prior reported financials underestimated its asbestos

liabilities attributable to Bendix by over $1 billion. Additionally, Honeywell disclosed that net

income attributable to Honeywell for 2017 was actually $1.545 billion, not the previously reported

$1.655 billion. This equated to a 14-cent reduction in the earnings per share ("EPS") of common

stock, from $2.14 to $2.




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       88.     The above information partially revealed that: (1) Honeywell had been improperly

accounting for Bendix's asbestos-related liabilities; (2) Honeywell's true Bendix-related asbestos

liabilities was significantly greater than previously represented; (3) that Honeywell could in fact

estimate Bendix-related asbestos liabilities for periods greater than five years in the future,

contrary to what Honeywell previously told investors; (4) that Honeywell's previous accounting

methodology was contrary to, and in violation of, ASC 450; and (5) that Honeywell's internal

controls over financial accounting and public disclosures were not designed and/or working

properly, as claimed by defendants Adamczyk and Szlosek in their certifications pursuant to the

SOX.

       89.     On the same day, on August 23, 2018, Honeywell issued a press release and held a

conference call with investors announcing the impact of two spinoffs, Garrett Motion Inc.

("Garrett") and Resideo Technologies, Inc. ("Resideo"), on Honeywell stockholders. The press

release revealed ostensibly favorable news, including the following: "Garrett and Resideo will

make payments to Honeywell under separate indemnification and reimbursement agreements that

largely offset Honeywell's related legacy liability spending, including the Bendix asbestos liability

that arises from the operations of the legacy Transportation Systems business." In a presentation

that accompanied the investor call, Honeywell further clarified that Garrett would cover 90% of

Honeywell's annual Bendix asbestos spending, up to a limit of $175 million a year. This agreement

would terminate after either: (1) the payments over a three-year period fell below $25 million

annually; or (2) on December 31, 2048, whichever came first. Defendants did not explain or

reconcile their previous position that they could only estimate the liabilities for a five-year time

horizon with the 30-year term for the indemnification agreement.




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       90.     Even though the truth about Honeywell's massive asbestos-related liabilities began

to be revealed in the August 23, 2018 Form 8-K, the simultaneously announced news about the

indemnification agreement assuaged analysts and investors. The stock price remained steady,

opening on August 23, 2018 at $151.30 per share and closing at $151.35 per share, unadjusted.

       91.     Had it not been for the accounting disclosures, the good news about the

indemnification and an additional announcement that management raised the full year EPS

guidance by $0.05 would have buoyed the stock price much higher.

       92.     Despite the disclosures in the August 23, 2018 Form 8-K, Honeywell continued to

conceal the truth from investors. Neither the Form 8-K nor the accompanying exhibit fully

disclosed: (1) management's involvement in and responsibility for estimating Bendix-related

asbestos liabilities; (2) that the accounting process and controls for estimating Bendix-related

asbestos liabilities involved an intentional decision to ignore liabilities potentially arising more

than five years into the future; or (3) that defendants knew that the accounting process used for

estimating Bendix-related asbestos liabilities was in violation of ASC 450, GAAP and industry

norms. Moreover, Honeywell did not disclose, but instead concealed, that its decision to change

its accounting processes for Bendix liabilities was brought about by communications with the

SEC's Division of Corporation Finance beginning in May 2018.

       93.     On October 10, 2018, the SEC made public correspondence between its Division

of Corporation Finance and Honeywell dated August 14, 2018 and August 20, 2018. On October

10, 2018, the letters were listed chronologically on the SEC's website under the dates they were

sent, August 14 and August 20. This caused them to appear lower than that of Honeywell's more

recent filings on the list of documents returned when conducting an online search for the Company.

In its letter dated August 14, 2018, the SEC stated, in pertinent part:




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       We note that you estimate your Bendix and NARCO asbestos related liabilities for
       future claims based on specific time periods subsequent to your balance sheet date.
       Please explain why you use different time periods for estimating the liabilities for
       future asbestos claims for your Bendix products asbestos liability and your
       NARCO- related asbestos liability. In your response, also please provide us with
       an analysis that explains your facts and circumstances as well as your basis under
       ASC 450 to use those specific future time periods. To the extent you determine
       that the specific future time periods used were incorrect, please provide us with a
       materiality analysis and your assessment of whether there was a material weakness
       in internal controls over financial reporting.

       We remind you that the company and its management are responsible for the
       accuracy and adequacy of their disclosures, notwithstanding any review,
       comments, action or absence of action by the staff.

(Emphasis added).

       94.    On August 20, 2018, Tus, Honeywell's former Vice President and Controller,

responded to the SEC via letter. Each page of the letter was marked "Confidential treatment

Requested by Honeywell International, Inc." In the August 20, 2018 letter, Tus stated:

       As described in more detail below and in the Appendices hereto, we are proposing
       to change our accounting treatment for Bendix asbestos-related liabilities to a
       terminal value time horizon. We also discuss our materiality analysis related to
       that revision and our conclusion that the revision we intend to make does not
       indicate a material weakness in our internal control over financial reporting.

                                             *    *    *

       Upon thorough consideration of the Staff's comments in its review of the Form
       10 submitted to the Staff in connection with the proposed spin-off of Garrett Motion
       Inc. and of the application of ASC 450, Honeywell determined that we had not
       appropriately applied the provisions of ASC 450 when measuring asbestos
       liabilities related to unasserted Bendix claims. Specifically, we concluded that the
       appropriate application of ASC 450-20 with respect to unasserted Bendix-related
       asbestos claims is to reflect the full term of the epidemiological projections in the
       measurement of such liability. The Company intends to revise its historical
       consolidated financial statements in future filings to reflect the inclusion of the full
       term of the epidemiological projections (through 2059) in its measurement of
       liability for unasserted Bendix-related asbestos claims.

       It is important to note that, unlike the NARCO Trust, Bendix claims have been
       addressed through the tort system since the mid-1970s, creating a body of historical
       claims information on which to rely when estimating a future projection of liability.



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       Each year, we have a substantial body of real-time data of claims asserted, dismissal
       rates and resolution values that is more than sufficiently robust to support reliable
       estimates. The robustness of this data supported our conclusion that application
       of the claims data to the full term of the epidemiological projections yields a
       probable and reasonably estimable projection of liability under ASC 450.

(Emphasis added).

       95.     The above statements revealed to the market that Honeywell's previous statements

regarding accounting for the Bendix-related asbestos liabilities were materially false and

misleading. Contrary to Honeywell's previous statements that "we do not believe that we have a

reasonable basis for estimating asbestos claims beyond the next five years," this letter revealed

Honeywell did in fact have data to support accounting for the full term. This statement also

revealed that Honeywell had been discussing this matter with the SEC since its review of Garrett's

Form 10, months before Honeywell disclosed their new accounting practice.

       96.     Incorporated to Honeywell's letter to the SEC was Appendix A that contained

additional disclosures relating to Honeywell's prior improper accounting. Appendix A states:

       Additionally, management has evaluated the circumstances around the Bendix
       asbestos liability error detailed above to determine whether it is an indicator of a
       material weakness in financial reporting controls. Based on the quantitative and
       qualitative considerations discussed below we concluded we have a significant
       deficiency and not a material weakness in internal controls over financial
       reporting related to our determination of the time horizon for the Bendix-related
       asbestos liability.

(Emphasis added).

       97.     This letter revealed to the market that Honeywell had a significant deficiency it its

internal controls over financial reporting and as a result, the accounting for Bendix-related asbestos

liabilities, as well as defendants' SOX certifications were materially false and misleading.

       98.     Appendix A continued, discussing the accounting error and the effect it had on net

income and comprehensive income, stating:




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        •       Under the iron curtain method, the effects of a cumulative correction on the
                Company's projected 2018 income statement, however, would be material.
                For instance, the impact of correcting the error in 2018 would be a charge
                of (i) $1,018 million to income before taxes, and (ii) $770 million to net
                income. This would represent a greater than 10% impact on both of the
                forecasted 2018 amounts. Accordingly, we have concluded that the
                error cannot be corrected through the 2018 income statement and
                must, therefore be corrected via a revision of prior periods.

        •       In order to assess whether the revision for this error represents a material
                restatement or immaterial restatement (i.e. revision), we utilized the rollover
                method to quantify the amount by which each affected income statement
                and statement of cash flows in the last five years was actually misstated,
                and quarterly periods for the latest two years. Additionally, as part of this
                analysis, we calculated the cumulative effect of the uncorrected error on the
                balance sheets at the end of each such period. The rollover method analysis
                indicates that the restatement is not quantitatively material because the
                effects of the error on the misstated income statements, statements of cash
                flows and balance sheets of those prior periods is less than 5% of all key
                metrics in each period, with the exception of net income (- 6.5%) and
                comprehensive income (- 5.0%) for the year ended December 31, 2017.

(Emphasis added).

        99.     This statement revealed to the market that Honeywell would have to issue a

restatement for Bendix-related asbestos liabilities, and the negative affect it would have on net

income and comprehensive income. This revealed that the prior numbers relating to Bendix's

asbestos-related liabilities and net income disseminated by Honeywell were in fact, materially false

and misleading.

        100.    Appendix A then discussed exactly how long Honeywell could estimate its

liabilities for, and the factors used to decide to correct the error.

        As indicated previously, in August 2018, management concluded it should adjust
        the Bendix asbestos liability to reflect the full term of the epidemiological
        projections through 2059, and therefore, determined that it had historically
        incorrectly applied the provisions of ASC 450, Contingencies, in measuring its
        Bendix asbestos liability related to unasserted claims. This error, and the related
        control deficiency, were identified during the course of the SEC Staff's review of
        the Form 10 filing related to Garrett Motion Inc.




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       Our conclusion to adjust the time horizon of the Bendix liability was made after (i)
       reevaluating the highly subjective nature of the use of a five-year horizon (when
       various horizon periods could also be used), (ii) noting the recent change by
       numerous companies to accrue for unasserted claims over the full term of the
       epidemiological studies (again because of such time horizon subjectivity), and
       (iii) concluding that such an adjustment would facilitate comparability between
       Honeywell, Garrett Motion Inc., and the companies' respective peers. Therefore,
       with the assistance of an external specialist, and utilizing a model with actuarial
       inputs, Honeywell has and will continue in the future to consider the full term of
       epidemiological projections of future incidents of asbestos-related disease to
       estimate its probable and reasonably estimable Bendix asbestos- related liability.

(Emphasis added).

       101.   This statement revealed to the market that Honeywell should have been recording

Bendix's asbestos-related liabilities out to 2059, not just a five-year horizon as it had done

historically. This demonstrated that Honeywell's prior statement that Honeywell did not have a

reasonable basis for estimating asbestos claims beyond the next five years, was materially false

and misleading.

       102.   Appendix A also identified the control that was deficient and the root cause for the

deficiency. Specifically, Appendix A states:

       Control Identified

       The error that was identified is an indication that a deficiency existed in the
       operation of an existing internal control since there was a failure to properly
       apply the key provisions of the control in establishing an estimate of unasserted
       Bendix asbestos claims liability related to the time horizon for which these claims
       would be asserted.

       As noted in the summary of the accounting process for unasserted claims above,
       we use a third-party specialist to assist in assessing the required Bendix unasserted
       claims liability. The Company has designed a relevant internal control over that
       process. We identified an operating effectiveness deficiency related to that
       internal control activity. The specific control activity is the "Bendix Reserves True-
       up" control, which states that "…Honeywell's third-party service provider
       calculates the average resolution values on which Honeywell bases its estimates of
       the total liability associated with its current and future Bendix asbestos claims. The
       year-end reserve is updated based on the new average resolution values and is
       approved by Management." This key control is specific to Bendix-related asbestos



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       reserves where, on an annual basis, the Bendix-related asbestos reserves are
       adjusted to properly reflect current year estimates regarding both resolution values
       and estimated future claimants based on anticipated changes in the population of
       claims. Management reviews the specialist report for reasonableness of the
       unasserted claims liability and any increase/decrease from the prior year, and
       discusses with the specialist the significant actuarial inputs and reasons for the
       increase/decrease. Outside legal counsel specializing in asbestos related claims is
       also included in those discussions. Management has historically, as part of this
       process, held discussions with the specialist regarding the time horizon used for
       the estimation of the future unasserted claims. Management approves any
       adjustment to the unasserted claims liability amount based on this analysis and
       records the appropriate adjustment to the general ledger.

                                            *   *    *

       Nature and Root Cause
                                            *   *    *

      [I]n connection with the performance of this control, the Company inappropriately
       relied on limited objective and verifiable data to justify its use of a five- year
       horizon. The Company had obtained and used the data to properly value a liability,
       but made the incorrect judgment based on what the data would have otherwise
       indicated had it not truncated the liability at a five-year horizon. The Company did
       not consider or use all available evidence to evaluate whether they should apply
       the full term or any other time horizon of epidemiological projections to the
       liability that might have been more appropriate than a five-year time horizon
       based on that evidence.

(Emphasis added).

       103.    The above information revealed the extent of the control weakness and the fact that

Honeywell ignored information when determining the horizon for Bendix's asbestos-related

liabilities. This showed that the prior statements that Honeywell did not have a reasonable basis

for estimating asbestos claims beyond the next five years, as well as Defendants' SOX certification

were materially false and misleading.

       104.    Appendix A also informed investors that Honeywell had the information needed to

determine the deficiency at an earlier point. Specifically, Appendix A states:

       We concluded it was appropriate to revise prior periods when correcting the error
       under SAB 99. This consideration implies that there was information available



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       that should have caused us to modify the time horizon used for the Bendix
       unasserted claims liability at an earlier point. The specific time horizon is
       subjective in nature given the assessment of all available information.

(Emphasis added).

       105.    This statement again revealed to the market that the error was so severe that it would

result in a restatement. This revealed that the prior numbers relating to Bendix's asbestos-related

liabilities and net income disseminated by Honeywell were, in fact, materially false and

misleading.

       106.    This also informed investors that Honeywell had the information to find the error

well before Honeywell decided to review or disclose it. This shows the extent of Honeywell's

internal weakness, and that its previous SOX certification were materially false and misleading.

       107.    Appendix A also determined that defendants' prior SOX certifications were

materially false and/or misleading. Specifically, Appendix A states:

       SOX 404 Assessment Conclusion

       Based on the considerations above, we concluded that there was not a material
       weakness in internal control. However, we determined that the deficiency is
       important enough to merit the attention of those responsible for oversight of the
       Company's financial reporting and internal controls, and therefore Management
       concluded that a significant deficiency in internal controls over financial
       reporting existed. Specifically, the identified Bendix asbestos control did not
       operate effectively because the Company inappropriately relied on limited
       objective and verifiable data to justify its use of a five-year horizon. We did not
       consider all available evidence to evaluate whether we should apply the full term
       of the epidemiological studies. The Company focused too heavily on the emerging
       science and studies that indicated the nature and application of the asbestos used at
       Bendix does not cause disease, and on evidence of improvements in the tort system
       with regards to resolution of asbestos claims.

(Emphasis added).

       108.    This correspondence revealed to the market that Honeywell's previous SOX

certifications were in fact false due to a significant deficiency internal controls over financial

reporting.


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        109.    Despite the admissions and revelations contained in Honeywell's August 20, 2018

correspondence with the SEC, it still misled investors by attempting to portray Honeywell's

conduct in a nonculpable light. Moreover, given the manner in which the correspondence was

released, many investors were unaware of defendants' admissions or that it had engaged in an

intentional violation of GAAP standards when providing the public with estimates of its Bendix-

related asbestos liabilities.

        110.    Before the market opened on October 10, 2018, Honeywell issued a press release

revealing that Resideo would be spun-off on October 29, 2018, earlier than previously expected,

and announcing a flash Investor Showcase and Technology Demonstration. Later that day

Honeywell held the conference and announced sales growth in each of the business segments that

would become part of the Resideo spin-off. New management also assuaged investor fears about

competition from other retailers, such as Amazon Alexa and Home Depot, and announced plans

to expand in high-growth areas like China and India.

        111.    Resideo's indemnification agreement with Honeywell was discussed at length on

the call. Joseph Ragan, Resideo's new Executive Vice President and CFO, explained that the

liability was capped at $140 million per year, that it was a 25-year arrangement, and that Resideo

had already modeled the liability into their numbers. In the question and answer portion of the

call, Michael G. Nefkens again clarified that the liability could be as much as $140 million per

year. Dean Acosta, Chief Communications Officer for the new spin-off, also jumped in to clarify

"[w]e don't manage the remediation. All of that's done by Honeywell."

        112.    Just as before on August 23, 2018, the subsequent analyst reports focused on the

positive news Honeywell strategically announced on the same day the SEC published its

correspondence questioning Honeywell's accounting practices.




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       113.    The stock price declined, from an opening market price of $155.76 on October 10,

2018 to an unadjusted closing price of $148.86 per share on October 11, 2018.

       114.    In addition, on October 31, 2018, Honeywell was sued by an investor in the U.S.

District Court for the District Court of New Jersey. The action alleges that the defendants made

false and misleading statements concerning Honeywell's accounting for Bendix related asbestos

claims. On May 18, 2020, the court denied the motion to dismiss, holding that the plaintiff

adequately alleged that the defendants made false and misleading statement with scienter.

       115.    In denying the motion to dismiss in the Securities Class Action, the District Court

summarized the key admissions made by Honeywell in the August 20 letter:

       At the same time, Honeywell made several key admissions ("Admissions"),
       including: (1) it "had not appropriately applied the provisions of ASC 450 when
       measuring asbestos liabilities"; (2) "the appropriate application of ASC 450 … is
       to reflect the full term of the epidemiological projections in the measurement of
       such liability"; (3) Honeywell "had obtained and used the data to properly value a
       liability, but made the incorrect judgment based on what the data would have
       otherwise indicated had it not truncated the liability at a five-year horizon"; and (4)
       "[t]he Company did not consider or use all available evidence to evaluate whether
       they should apply the full term or any other time horizon." While Honeywell
       stressed that it used third-parties to help assess Bendix liabilities, it also stated that
       "Management" (5) "reviews the specialist report ... and discusses with the specialist
       the significant actuarial inputs"; (6) "has historically ... held discussions with the
       specialist regarding the time horizon used"; and (7) "approves any adjustment to
       the unasserted claims liability amount." Finally, (8) the revision "implies that there
       was information available that should have caused [Honeywell] to modify the time
       horizon used for the Bendix unasserted claims liability at an earlier point".

Kanefsky v. Honeywell Int'l, Inc., No. 18-cv-15536, 2020 U.S. Dist. LEXIS 87108, at *6-7 (D.N.J.

May 18, 2020) (citations omitted) (alterations and omissions in original).

                                 DAMAGES TO HONEYWELL

       116.    As a result of the Individual Defendants' improprieties, Honeywell and the

Individual Defendants made materially false and/or misleading statements, as well as failed to

disclose material adverse facts about Honeywell's asbestos-related liabilities. As a result of the



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above, defendants' public statements were materially false and/or misleading at all relevant times.

Indeed, actions by Honeywell's fiduciaries have devastated the Company, as evidenced by the

nearly 4.6% stock drop between October 9, 2018 and October 11, 2018, which erased

approximately $5 billion of the Company's market capitalization, and the 6.4% stock drop between

October 18, 2018 and October 24, 2018, which wiped out nearly $6.7 billion of the Company's

market capitalization.

         117.   Honeywell's performance issues also damaged its reputation within the business

community and in the capital markets. In addition to price, the Company's current and potential

investors consider a company's trustworthiness, stability, and ability to evaluate known risks.

Investors are less likely to invest in companies that disseminate improper statements, fail to comply

with their own internal protocols and regulations, and are uncertain about their own financial

condition. Accordingly, the Company's ability to raise equity capital or debt on favorable terms

in the future is now impaired. In addition, Honeywell stands to incur higher marginal costs of

capital and debt because the improper statements and misleading projections disseminated by the

Individual Defendants have materially increased the perceived risks of investing in and lending

money to the Company.

         118.   Further, as a direct and proximate result of the Individual Defendants' actions,

Honeywell has expended, and will continue to expend, significant sums of money.                 Such

expenditures include, but are not limited to:

                (a)       costs incurred from investigations, including responding to the SEC and any

fines;

                (b)       costs incurred from the Company's internal investigation into its accounting

practices and policies;




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               (c)     costs incurred from revisiting and restating previous financial reports;

               (d)     costs incurred from restoring the value of its impaired brands and

trademarks;

               (e)     costs incurred from defending and paying any settlement in the class actions

for violations of federal securities laws; and

               (f)     costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Honeywell.

                                DERIVATIVE ALLEGATIONS

       119.    Plaintiff brings this action derivatively in the right and for the benefit of Honeywell

to redress injuries suffered, and to be suffered, by Honeywell as a direct result of breaches of

fiduciary duty, waste of corporate assets, unjust enrichment, and contribution for violations of

federal securities laws, as well as the aiding and abetting thereof, by the Individual Defendants.

Honeywell is named as a nominal defendant solely in a derivative capacity. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

       120.    The Plaintiff will adequately and fairly represent the interests of Honeywell in

enforcing and prosecuting its rights.

       121.    Plaintiff was a stockholder of Honeywell at the time of the wrongdoing complained

of, have continuously been a stockholder since that time, and are current Honeywell stockholders.

       122.    On April 21, 2020, the Plaintiff jointly served his Litigation Demand on the Board.

The Litigation Demand, among other things, demanded that the Board take all necessary steps to

investigate, address, and promptly remedy the harm inflicted upon Honeywell as a result of the

misconduct described herein. In particular, Plaintiff demanded that the Board investigate the

circumstances surrounding Honeywell's false and misleading statements and violations of any

applicable laws, rules, and regulations. In addition, Plaintiff demands that the Board investigate


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any other violations of applicable laws, rules, and regulations. In addition, Plaintiff demanded that

the Company "following its investigation, commence legal proceedings against each party

responsible for the mismanagement and other related misconduct" described above.

       123.    By letter dated June 8, 2020 from defendant Adamczyk, the Chairman of the Board,

the Board constructively refused Plaintiff's Litigation Demand. In a cursory, three-page letter, the

Board concluded that "[i]t is not presently in the best interests of the Company to undertake the

demanded investigation, as doing so would be premature, would be prejudicial to the Company's

ability to respond effectively to, and defend itself in, the Securities Class Action, has the potential

to harm the Company, and has the potential to be an inefficient and wasteful use of the Company's

resources." The letter contained no information to support these conclusory statements, such as

how investigating whether the Company was still employing wrongdoers in the positions of control

would undermine the defense in the Securities Class Action.

       124.    The Board added that, purportedly, "the Board is not rejecting or refusing the

Demand… The Board may take any of the Demanded Actions or other actions in the future, if

warranted in light of future developments." However, the Board cannot shirk its duties to Plaintiff

and other stockholders by attempting to hold Plaintiff's Litigation Demand in abeyance

indefinitely. By declining to timely investigate Plaintiff's demands, including the commencement

of appropriate litigation against culpable insiders, the Board has wrongfully refused the Litigation

Demand.

       125.    Further, the Board's response letter makes it clear that no serious investigation has

been undertaken in response to Plaintiff's Litigation Demand. While the Board has purportedly

"met to discuss the [Litigation] Demand[,]" there is no indication that the Board gave the demand

any serious consideration. There is no indication that the Board, for example, formed any




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committees for the purpose of investigating Plaintiff's demand. Moreover, it is not clear whether

the Board even discussed the Litigation Demand on more than one occasion. Rather, the Board

appears to have based its decision not to pursue the Litigation Demand entirely on investigatory

work performed prior to the date of the demand. Accordingly, the Board's constructive refusal

was uninformed and wrongful.

       126.    Moreover, the unreasonableness of the Board's refusal is further underscored by the

May 18, 2020 decision in the Securities Class Action denying defendants' motion to dismiss. The

Board's refusal letter to Plaintiff concedes that "[t]he claims asserted in the Securities Class Action

are based on the same alleged statements, omissions, and/or conduct described in the [Litigation]

Demand." Accordingly, the Board's refusal to take up Plaintiff's demanded investigation is at odds

with the May 18 findings of the District Court that similar allegations are actionable at the pleading

stage, and that Honeywell will be forced to expend additional company resources litigating and

resolving the Securities Class Action.

       127.    Plaintiff has not made any demand on the other stockholders of Honeywell to

institute this action since such demand would be a futile and useless act for at least the following

reasons:

               (a)     Honeywell is a publicly held company with over 700 million shares

outstanding and thousands of stockholders as of June 30, 2020;

               (b)     making demand on such a number of stockholders would be impossible for

the plaintiff who has no way of finding out the names, addresses, or phone numbers of

stockholders; and

               (c)     making demand on all stockholders would force the plaintiff to incur

excessive expenses, assuming all stockholders could be individually identified.




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                                             COUNT I

                            BREACH OF FIDUCIARY DUTY
                       (AGAINST THE INDIVIDUAL DEFENDANTS)

       128.    Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       129.    The Individual Defendants owed and owe Honeywell fiduciary obligations. By

reason of their fiduciary relationships, the Individual Defendants owed and owe Honeywell the

highest obligation of good faith, fair dealing, loyalty, and due care. These duties included an

obligation of which the Individual Defendants were fully aware, to manage Honeywell's business

and affairs in accordance with all laws applicable to the Company's operations, including the

federal securities laws, rules, and regulations.

       130.    The Individual Defendants and each of them, violated and breached their fiduciary

duties of candor, good faith, and loyalty. More specifically, the Individual Defendants violated

their duty of good faith by creating a culture of lawlessness within Honeywell, and/or consciously

failing to prevent the Company from engaging in the unlawful acts complained of herein.

       131.    The Individual Defendants breached their duty of loyalty by purposefully

knowingly, or recklessly failing to implement and maintain an adequate system of internal

controls. Specifically, the Individual Defendants breached their duty of loyalty by purposefully,

knowingly, or recklessly causing or allowing the Company to violate federal securities laws, and

allowing the Company to suffer needless losses by failing to implement and maintain an adequate

system of internal controls to ensure the Company's public statements were truthful and disclosed

any fraud or any material weakness in internal controls over financial reporting.




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       132.    In addition, the Individual Defendants breached their fiduciary duties of loyalty by

making or allowing the Company to make improper statements in the Company's publicly

disseminated documents and SEC filings concerning Honeywell's asbestos-related liabilities.

       133.    The Individual Defendants either knew, were reckless, or were grossly negligent in

disregarding the illegal activity of such substantial magnitude and duration.

       134.    The Individual Defendants, as directors of the Company, owed Honeywell the

highest duty of loyalty. These defendants breached their duty of loyalty by recklessly permitting

the improper activity and improper statements detailed herein. The Individual Defendants knew

or were reckless in not knowing that Honeywell misstated its asbestos-related liabilities in its SEC

filings. Accordingly, these defendants breached their duty of loyalty to the Company.

       135.    The Audit Committee Defendants breached their fiduciary duty of loyalty by

approving the statements described herein that were made during their tenure on the Audit

Committee, which they knew or were reckless in not knowing contained improper statements and

omissions. The Audit Committee Defendants completely and utterly failed in their duty of

oversight, and failed in their duty to appropriately review financial results, as required by the Audit

Committee Charter in effect at the time.

       136.    As a direct and proximate result of the Individual Defendants' breaches of their

fiduciary obligations, Honeywell has sustained significant damages, as alleged herein. As a result

of the misconduct alleged herein, these defendants are liable to the Company.

       137.    Plaintiff, on behalf of Honeywell, has no adequate remedy at law.




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                                            COUNT II

                            WASTE OF CORPORATE ASSETS
                        (AGAINST THE INDIVIDUAL DEFENDANTS)

       138.    Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       139.    As a result of the Individual Defendants' failure to maintain adequate internal

controls to over financial reporting, these fiduciaries have caused Honeywell to waste its corporate

assets by forcing the Company to expend valuable resources to investigating its financial

statements.

       140.    In addition, as a result of the defendants' misrepresentation and concealment of

material facts, the Company is now subject to various securities class actions. The Individual

Defendants have caused the Company to expend valuable resources in defending itself in the

ongoing litigation, in addition to any ensuing costs from a potential settlement or adverse

judgment.

       141.    The Individual Defendants have caused Honeywell to waste its assets by paying

improper compensation and bonuses to certain of its executive officers and directors that breached

their fiduciary duty.

       142.    As a result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

       143.    Plaintiff, on behalf of Honeywell, have adequate remedy at law.

                                           COUNT III

                                UNJUST ENRICHMENT
                        (AGAINST THE INDIVIDUAL DEFENDANTS)

       144.    Plaintiff repeats and re-allege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.


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         145.   By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Honeywell. The Individual Defendants were

unjustly enriched as a result of the compensation and director remuneration they received while

breaching fiduciary duties owed to Honeywell.

         146.   Plaintiff, as a stockholder and representative of Honeywell, seeks restitution from

these defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits,

and other compensation obtained by these defendants, and each of them, from their wrongful

conduct and fiduciary breaches.

         147.   Plaintiff, on behalf of Honeywell, has no adequate remedy at law

                                            COUNT IV

          VIOLATIONS OF SECTIONS 10(B) AND 21D OF THE EXCHANGE ACT
        (AGAINST DEFENDANTS STITZEL, HARRIS, POTESHMAN, AND O'LEARY
                                 CONTRIBUTION)

         148.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         149.   Defendants Adamcyzk, Szlosek, and Lewis are named as defendants in a related

securities class action. The conduct of these defendants, as described herein, has exposed the

Company to significant liability under various federal and state securities laws by their disloyal

acts.

         150.   Honeywell is named as a defendant in related securities class actions that allege and

assert claims arising under section 10(b) of the Exchange Act. The Company is alleged to be liable

to private persons, entities, and/or classes by virtue of many of the same facts alleged herein. If

Honeywell is found liable for violating the federal securities laws, the Company's liability will

arise in whole or in part from the intentional, knowing, or reckless acts or omission of all or some




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of the defendants as alleged herein, who have caused the Company to suffer substantial harm

through their disloyal acts. The Company is entitled to contribution and indemnification from

these defendants in connection with all claims that have been, are, or may be asserted against the

Company by virtue of their wrongdoing.

       151.    As officers, directors, and otherwise, defendants Adamcyzk, Szlosek, and Lewis

had the power or ability to, and did, control or influence, either directly or indirectly, Honeywell's

general affairs, including the content of its public statements, and had the power or ability to

directly or indirectly control or influence the specific corporate statements and conduct that

violated section 10(b) of the Exchange Act and SEC Rule 10b-5.

       152.    Defendants Adamcyzk, Szlosek, and Lewis are liable under section 21D of the

Exchange Act, which governs the application of any private right of action for contribution

asserted pursuant to the Exchange Act.

       153.    Defendants Adamcyzk, Szlosek, and Lewis have damaged the Company and are

liable to the Company for contribution.

       154.    No adequate remedy at law exists for Plaintiff by and on behalf of the Company.


                                            COUNT V

               VIOLATION OF SECTION 10(B) OF THE EXCHANGE ACT
                    (AGAINST THE INDIVIDUAL DEFENDANTS)

       155.    Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       156.    During the Relevant Period, defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the relevant period, did: (i) deceive the investing

public as alleged herein; and (ii) cause investors to purchase Honeywell's securities at artificially




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inflated prices. In furtherance of this unlawful scheme, plan and course of conduct, defendants,

and each defendant, took the actions set forth herein.

         157.   Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company's securities in an effort to

maintain artificially high market prices for Honeywell's securities in violation of section 10(b) of

the Exchange Act and Rule 10b-5.         All Individual Defendants are sued either as primary

participants in the wrongful and illegal conduct charged herein or as controlling persons as alleged

below.

         158.   The Individual Defendants, individually and in concert, directly and indirectly, by

the use, means or instrumentalities of interstate commerce and/or of the mails, engaged and

participated in a continuous course of conduct to conceal adverse material information about

Honeywell's financial well-being and prospects, as specified herein.

         159.   The Individual Defendants employed devices, schemes and artifices to defraud,

while in possession of material adverse non-public information and engaged in acts, practices, and

a course of conduct as alleged herein in an effort to assure investors of Honeywell's value and

performance and continued substantial growth, which included the making of, or the participation

in the making of, untrue statements of material facts and/or omitting to state material facts

necessary in order to make the statements made about Honeywell and its business operations and

future prospects in light of the circumstances under which they were made, not misleading, as set

forth more particularly herein, and engaged in transactions, practices and a course of business




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which operated as a fraud and deceit upon the purchasers of the Company's securities during the

Relevant Period.

       160.    Each of the Individual Defendants' primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Relevant Period and members of the Company's management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company's internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company's

management team, internal reports and other data and information about the Company's finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company's dissemination of information to the investing public which they knew and/or recklessly

disregarded was materially false and misleading.

       161.    The Individual Defendants had actual knowledge of the misrepresentations and/or

omissions of material facts set forth herein or acted with reckless disregard for the truth in that

they failed to ascertain and to disclose such facts, even though such facts were available to them.

Such defendants' material misrepresentations and/or omissions were done knowingly or recklessly

and for the purpose and effect of concealing Honeywell's financial well-being and prospects from

the investing public and supporting the artificially inflated price of its securities. As demonstrated

by defendants' overstatements and/or misstatements of the Company's business, operations,

financial well-being, and prospects throughout the Relevant Period, defendants, if they did not

have actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing




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to obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       162.    As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Honeywell's securities was artificially inflated during the Relevant Period. In ignorance of the fact

that market prices of the Company's securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by defendants, but not disclosed in public statements by

defendants during the Relevant Period investors acquired Honeywell's securities during the

Relevant Period at artificially high prices and were damaged thereby.

       163.    At the time of said misrepresentations and/or omissions, investors were ignorant of

their falsity and believed them to be true. Had investors known the truth regarding the problems

that Honeywell was experiencing, which were not disclosed by defendants, investors would not

have purchased or otherwise acquired their Honeywell securities, or, if they had acquired such

securities during the Relevant Period, they would not have done so at the artificially inflated prices

which they paid.

       164.    By virtue of the foregoing, defendants violated section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

       165.    As a direct and proximate result of defendants' wrongful conduct, class members

suffered damages in connection with their respective purchases and sales of the Company's

securities during the Relevant Period.




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                                            COUNT VI

               VIOLATION OF SECTION 20(A) OF THE EXCHANGE ACT
                    (AGAINST THE INDIVIDUAL DEFENDANTS)

        166.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

        167.   Individual Defendants acted as controlling persons of Honeywell within the

meaning of section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company's operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements which

investors contend are false and misleading. Individual Defendants were provided with or had

unlimited access to copies of the Company's reports, press releases, public filings, and other

statements alleged by investors to be misleading prior to and/or shortly after these statements were

issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

        168.   In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        169.   As set forth above, Honeywell and Individual Defendants each violated section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to section 20(a) of the



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Exchange Act. As a direct and proximate result of defendants' wrongful conduct, investors

suffered damages in connection with their purchases of the Company's securities during the

Relevant Period.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of Honeywell, demands judgment as follows:

         A.    Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants' breaches of fiduciary duties,

waste of corporate assets, unjust enrichment, and contribution for violations of federal securities

law;

         B.    Directing Honeywell to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect

Honeywell and its stockholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for stockholder vote, resolutions for amendments to the

Company's Bylaws or Articles of Incorporation and taking such other action as may be necessary

to place before stockholders for a vote of the following corporate governance policies;

               1.     a proposal to strengthen the Company's controls over financial reporting;

               2.     a proposal to strengthen the Board's supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board;

               3.     a provision to permit the stockholders of Honeywell to nominate at least

three candidates for election to the Board; and

               4.     proposal to strengthen Honeywell's oversight of its disclosure procedures;




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       C.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, an state

statutory provisions sued hereunder, including attaching, impounding, imposing a constructive

trust on, or otherwise restricting the proceeds of defendants' trading activities or their other assets

so as to assure that the plaintiff on behalf of Honeywell have an effective remedy;

       D.      Awarding to Honeywell restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants;

       E.      Finding that Plaintiff's Litigation Demand was wrongfully refused;

       F.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

       G.      Such other and further relief as the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

 Dated: October 2, 2020                             COOCH AND TAYLOR, P.A.

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